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Table 1: Cases in which the government recommended a probation sentence without home detention1

    Defendant Name         Case Number                 Offense of Conviction            Government                       Sentence Imposed
                                                                                        Recommendation
    Morgan-Lloyd, Anna     1:21-CR-00164-RCL           40 U.S.C. § 5104(e)(2)(G)        36 months’ probation, 40         36 months’ probation, 120
                                                                                        hours community service,         community service hours, $500
                                                                                        $500 restitution                 restitution
    Ehrke, Valerie         1:21-CR-00097-PLF           40 U.S.C. § 5104(e)(2)(G)        36 months’ probation, 40         36 months’ probation, $500
                                                                                        hours community service,         restitution
                                                                                        $500 restitution
    Bissey, Donna          1:21-CR-00165-TSC           40 U.S.C. § 5104(e)(2)(G)        36 months’ probation, 40         14 days incarceration, 60 hours
                                                                                        hours community service,         community service, $500 restitution
                                                                                        $500 restitution
    Hiles, Jacob           1:21-CR-00155-ABJ           40 U.S.C. § 5104(e)(2)(G)        36 months’ probation, 60         24 months’ probation, 60 hours
                                                                                        hours community service,         community service, $500 restitution
                                                                                        $500 restitution


Table 2: Cases in which the government recommended a probation sentence with home detention

    Defendant Name         Case Number                 Offense of Conviction            Government                       Sentence Imposed
                                                                                        Recommendation
    Bustle, Jessica        1:21-CR-00238-TFH           40 U.S.C. § 5104(e)(2)(G)        3 months home detention,         60 days of home detention, 24
                                                                                        36 months’ probation, 40         months’ probation, 40 hours
                                                                                        hours community service,         community service, $500 restitution
                                                                                        $500 restitution
    Bustle, Joshua         1:21-CR-00238-TFH           40 U.S.C. § 5104(e)(2)(G)        1 month home detention, 36       30 days home detention, 24 months’
                                                                                        months’ probation, 40            probation, 40 hours community
                                                                                                                         service, $500 restitution


1
  Early in this investigation, the Government made a very limited number of plea offers in misdemeanor cases that included an agreement to recommend probation,
including in United States v. Anna Morgan-Lloyd, 1:21-cr-00164(RCL); United States v. Valerie Elaine Ehrke, 1:21-cr-00097(PFF); and United States v. Donna
Sue Bissey, 1:21-cr-00165(TSC). The government is abiding by its agreements in those cases, but has made no such agreement in this case. Cf. United States v.
Rosales-Gonzales, 801 F.3d 1177, 1183 (9th Cir. 2015) (no unwarranted sentencing disparities under 18 U.S.C. § 3553(a)(6) between defendants who plead guilty
under a “fast-track” program and those who do not given the “benefits gained by the government when defendants plead guilty early in criminal proceedings”)
(citation omitted).

                                                                              1
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                                                                          hours community service,
                                                                          $500 restitution
    Doyle, Danielle     1:21-CR-00324-TNM     40 U.S.C. § 5104(e)(2)(G)   2 months home detention,       2 months’ probation, $3,000 fine,
                                                                          36 months’ probation, 60       $500 restitution
                                                                          hours community service,
                                                                          $500 probation
    Bennett, Andrew     1:21-CR-00227-JEB     40 U.S.C. § 5104(e)(2)(G)   3 months home detention,       3 months of home detention,
                                                                          36 months’ probation, 60       24 months’ probation, 80 hours
                                                                          hours community service,       community service, $500 restitution
                                                                          $500 restitution
    Mazzocco, Matthew   1:21-CR-00054-TSC     40 U.S.C. § 5104(e)(2)(G)   3 months home detention,       45 days incarceration, 60 hours
                                                                          36 months’ probation, 60       community service2, $500 restitution
                                                                          hours community service,
                                                                          $500 restitution
    Rosa, Eliel         1:21-CR-00068-TNM     40 U.S.C. § 5104(e)(2)(G)   1 month home detention, 36     12 months’ probation, 100 hours
                                                                          months’ probation, 60          community service, $500 restitution
                                                                          hours community service,
                                                                          $500 restitution
    Gallagher, Thomas   1:21-CR-00041-CJN     40 U.S.C. § 5104(e)(2)(G)   1 month home detention, 36     24 months’ probation, 60 hours
                                                                          months’ probation, 60          community service, $500 restitution
                                                                          hours community service, a
                                                                          fine, and $500 restitution
    Vinson, Thomas      1:21-CR-00355-RBW     40 U.S.C. § 5104(e)(2)(G)   3 months home detention,       5 years’ probation, $5,000 fine, $500
                                                                          3 years’ probation, 60 hours   restitution, 120 hours community
                                                                          community service, $500        service
                                                                          restitution
    Dillon, Brittiany   1:21-CR-00360-DLF     40 U.S.C. § 5104(e)(2)(D)   3 months home detention,       60 days home detention, 3 years’
                                                                          36 months’ probation, 60       probation, $500 restitution
                                                                          hours community service,
                                                                          $500 restitution
    Sanders, Jonathan   1:21-CR-00384-CJN     40 U.S.C. § 5104(e)(2)(G)   2 months home detention,       36 months’ probation, 60 hours
                                                                          36 months’ probation, 60       community service, $500 restitution


2
 The government believes the Court’s 10/4/2021 minute entry in this case is incorrect and the sentence requires 60 hours of community
service, not 60 months.

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                                                                             hours community service,
                                                                             $500 restitution
 Fitchett, Cindy        1:21-CR-00041-CJN       40 U.S.C. § 5104(e)(2)(G)    2 months home detention,     1 month home detention, 36 months’
                                                                             36 months’ probation, 60     probation, 60 hours community
                                                                             hours community service,     service, $500 restitution
                                                                             $500 restitution
 Sweet, Douglas         1:21-CR-00041-CJN       40 U.S.C. § 5104(e)(2)(G)    3 months home detention,     1 month home detention, 36 months’
                                                                             36 months’ probation, 60     probation, 60 hours community
                                                                             hours community service,     service, $500 restitution
                                                                             $500 restitution
 Cordon, Sean           1:21-CR-00269-TNM       40 U.S.C. § 5104(e)(2)(G)    3 months home detention,     2 months’ probation, $4000 fine
                                                                             36 months’ probation, 60
                                                                             hours community service,
                                                                             $500 restitution
 Wilkerson, John IV     1:21-CR-00302-CRC       40 U.S.C. § 5104(e)(2)(G)    2 months home detention,     36 months’ probation, $2500 fine, 60
                                                                             36 months’ probation, 60     hours community service, $500
                                                                             hours community service,     restitution
                                                                             $500 restitution
 Jones, Caleb           1:21-CR-00321-JEB       40 U.S.C. § 5104(e)(2)(G)    3 months home detention,     2 months home detention, 24
                                                                             36 months’ probation, 60     months’ probation, $500 restitution,
                                                                             hours community service,     100 hours community service
                                                                             $500 restitution
 Brown, Terry           1:21-CR-00041-CJN       40 U.S.C. § 5104(e)(2)(G)    45 days home detention, 36   1 month home detention, 36 months’
                                                                             months’ probation, 60        probation, $500 restitution, 60 hours
                                                                             hours community service,     community service
                                                                             $500 restitution
 Wrigley, Andrew        1:21-CR-00042-ABJ       40 U.S.C. § 5104(e)(2)(G)    2 months home detention,     18 months’ probation, $2000 fine,
                                                                             36 months’ probation, 60     $500 restitution, 60 hours
                                                                             hours community service,     community service
                                                                             $500 restitution


Table 3: Cases in which the government recommended a sentence of incarceration

 Defendant Name        Case Number             Offense of Conviction        Government                    Sentence Imposed
                                                                            Recommendation


                                                                       3
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Curzio, Michael    1:21-CR-00041-CJN   40 U.S.C. § 5104(e)(2)(G)   Not applicable                6 months incarceration (time served),
                                                                                                 $500 restitution
Hodgkins, Paul     1:21-CR-00188-RDM   18 U.S.C. § 1512(c)(2)      18 months incarceration       8 months incarceration, 24 months’
                                                                                                 supervised release, $2000 restitution
Dresch, Karl       1:21-CR-00071-ABJ   40 U.S.C. § 5104(e)(2)(G)   6 months incarceration        6 months incarceration (time served),
                                                                   (time served), $500           $500 restitution
                                                                   restitution
Jancart, Derek     1:21-CR-00148-JEB   40 U.S.C. § 5104(e)(2)(D)   4 months incarceration,       45 days incarceration, $500
                                                                   $500 restitution              restitution
Rau, Erik          1:21-CR-00467-JEB   40 U.S.C. § 5104(e)(2)(D)   4 months incarceration,       45 days incarceration, $500
                                                                   $500 restitution              restitution
Hemenway, Edward   1:21-CR-00049-TSC   40 U.S.C. § 5104(e)(2)(G)   30 days incarceration, $500   45 days incarceration, 60 hours
                                                                   restitution                   community service, $500 restitution
Reeder, Robert     1:21-CR-00166-TFH   40 U.S.C. § 5104(e)(2)(G)   6 months incarceration,       3 months incarceration, $500
                                                                   $500 restitution              restitution
Bauer, Robert      1:21-CR-00049-TSC   40 U.S.C. § 5104(e)(2)(G)   30 days incarceration, $500   45 days incarceration, 60 hours
                                                                   restitution                   community service, $500 restitution
Vinson, Lori       1:21-CR-00355-RBW   40 U.S.C. § 5104(e)(2)(G)   30 days incarceration, $500   5 years’ probation, $5,000 fine, $500
                                                                   restitution                   restitution, 120 hours community
                                                                                                 service
Griffith, Jack     1:21-CR-00204-BAH   40 U.S.C. § 5104(e)(2)(G)   3 months incarceration,       90 days home detention, 36 months’
                                                                   $500 restitution              probation, $500 restitution
Torrens, Eric      1:21-CR-00204-BAH   40 U.S.C. § 5104(e)(2)(G)   2 weeks incarceration, $500   90 days home detention, 36 months’
                                                                   restitution                   probation, $500 restitution
Gruppo, Leonard    1:21-CR-00391-BAH   40 U.S.C. § 5104(e)(2)(G)   30 days incarceration, $500   90 days home detention, 24 months’
                                                                   restitution                   probation, $3,000 fine, $500
                                                                                                 restitution
Ryan, Jenna        1:21-CR-00050-CRC   40 U.S.C. § 5104(e)(2)(G)   60 days incarceration, $500   60 days incarceration, $1000 fine,
                                                                   restitution                   $500 restitution
Croy, Glenn        1:21-CR-00162-BAH   40 U.S.C. § 5104(e)(2)(G)   60 days incarceration, $500   90 days home detention, 14 days
                                                                   restitution                   community correctional facility, 36
                                                                                                 months’ probation, $500 restitution
Stotts, Jordan     1:21-CR-00272-TJK   40 U.S.C. § 5104(e)(2)(G)   45 days incarceration, $500   60 days home detention, 24 months’
                                                                   restitution                   probation, $500 restitution, 60 hours
                                                                                                 community service


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Fairlamb, Scott      1:21-CR-00120-RCL   18 U.S.C. § 1512(c)(2),     44 months incarceration, 36   41 months incarceration, 36 months
                                         18 U.S.C. § 111(a)(1)       months’ supervised release,   supervised release, $2000 restitution
                                                                     $2000 fine
Camper, John         1:21-CR-00325-CKK   40 U.S.C. § 5104(e)(2)(G)   60 days incarceration, $500   60 days incarceration, $500
                                                                     restitution                   restitution, 60 hours community
                                                                                                   service
Rukstales, Bradley   1:21-CR-00041-CJN   40 U.S.C. § 5104(e)(2)(G)   45 days incarceration, $500   30 days incarceration, $500
                                                                     restitution                   restitution
Cordon, Kevin        1:21-CR-00277-TNM   18 U.S.C. § 1752(a)(1)      30 days incarceration, 12     12 months’ probation, 100 hours
                                                                     months supervised release,    community service, $4000 fine, $500
                                                                     $500 restitution              restitution
Chansley, Jacob      1:21-CR-00003-RCL   18 U.S.C. § 1512(c)(2)      51 months incarceration, 36   41 months incarceration, 36 months
                                                                     months supervised release,    supervised release, $2000 restitution
                                                                     $2000 restitution
Mish, David          1:21-CR-00112-CJN   40 U.S.C. § 5104(e)(2)(G)   30 days incarceration, $500   30 days incarceration, $500
                                                                     restitution                   restitution
Lolos, John          1:21-CR-00243-APM   40 U.S.C. § 5104(e)(2)(G)   30 days incarceration, $500   14 days incarceration, $500
                                                                     restitution                   restitution
Scavo, Frank         1:21-CR-00254-RCL   40 U.S.C. § 5104(e)(2)(G)   14 days incarceration, $500   60 days incarceration, $5000 fine,
                                                                     restitution                   $500 restitution
Abual-Ragheb,        1:21-CR-00043-CJN   40 U.S.C. § 5104(e)(2)(G)   30 days incarceration, $500   60 days home detention, 36 months’
Rasha                                                                restitution                   probation, 60 hours community
                                                                                                   service, $500 restitution
Peterson, Russell    1:21-CR-00309-ABJ   40 U.S.C. § 5104(e)(2)(G)   14 days incarceration, $500   30 days incarceration, $500
                                                                     restitution                   restitution
Simon, Mark          1:21-CR-00067-ABJ   40 U.S.C. § 5104(e)(2)(G)   45 days incarceration, $500   35 days incarceration, $500
                                                                     restitution                   restitution




                                                              5
